
376 U.S. 191 (1964)
COX
v.
KANSAS.
No. 453, Misc.
Supreme Court of United States.
Decided February 17, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF KANSAS.
Petitioner pro se.
William M. Ferguson, Attorney General of Kansas, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for a writ of certiorari are granted. The judgment is vacated and the case is remanded to the Supreme Court of Kansas for further consideration in light of Douglas v. California, 372 U. S. 353, and Daegele v. Kansas, 375 U. S. 1.
